                                                                                                                                                   01/19/22 2:46 PM
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     James
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        H.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Southard
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6489
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   James H. Southard                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have
                                    I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1325 Jamerson Road
                                 Marietta, GA 30066
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cobb
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    James H. Southard                                                                             Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under      Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the          Yes.
     last 8 years?
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being          Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.       Go to Part 4.
    business?
                                      Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                         Code.

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                I do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is         Yes.
    alleged to pose a threat
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    James H. Southard                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    James H. Southard                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will                  Yes
     be available for
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                             $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ James H. Southard
                                 James H. Southard                                                 Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     January 19, 2022                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Ian Falcone                                                    Date         January 19, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Ian Falcone
                                Printed name

                                The Falcone Law Firm, PC
                                Firm name

                                363 Lawrence St NE
                                Marietta, GA 30060-2056
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                Email address         imf@falconefirm.com
                                 GA
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                  James H. Southard
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                            Unknown          Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                            Unknown          Wages, commissions,
 (January 1 to December 31, 2021 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

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                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For the calendar year before that:                   Wages, commissions,                          Unknown            Wages, commissions,                      $0.00
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                             $1,250.00
 the date you filed for bankruptcy:   Benefits

 For last calendar year:                           Social Security                              $15,000.00
 (January 1 to December 31, 2021 )                 Benefits

 For the calendar year before that:                Social Security                              $17,034.20
 (January 1 to December 31, 2020 )                 Benefits


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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 Debtor 1      James H. Southard                                                                           Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       State of GA vs James Southard                            Criminal                    Magistrate Court of Cobb                    Pending
       21-WA-452                                                                            County                                      On appeal
                                                                                            Public Safety Building                      Concluded
                                                                                            32 Waddell Street
                                                                                            Marietta, GA 30090                      Dismissed

       GFE NY, LLC vs Auto Memories                             Contract                    Supreme Court of the State of               Pending
       Classic Cars LLC and James                                                           NY, County of Kings                         On appeal
       Southard                                                                             360 Adams Street                            Concluded
       514686/2021                                                                          Brooklyn, NY 11201

       State of Georgia vs James Henry                          Criminal                    Magistrate Court of Cobb                    Pending
       Southard                                                                             County                                      On appeal
       21-W-6522                                                                            32 Waddell Street                           Concluded
                                                                                            Marietta, GA 30090

       ITRIA Ventures LLC vs Auto                               Collection                  Superior Court of Cobb                      Pending
       Memories Classic Cars LLC and                                                        County, State of GA                         On appeal
       James Henry Southard                                                                 70 Haynes Street                            Concluded
       21-1-08717-56
                                                                                            Marietta, GA 30090

       State of Georgia vs James Southard                       Criminal                    Magistrate Court of Cobb                    Pending
       21-RJ-493                                                                            County                                      On appeal
                                                                                            Public Safety Building                      Concluded
                                                                                            32 Waddell Street
                                                                                            Marietta, GA 30090                      Dismissed

       State of Georgia vs James Southard                       Criminal                    Magistrate Court of Cobb                    Pending
       21-W-5942                                                                            County                                      On appeal
                                                                                            Public Safety Building                      Concluded
                                                                                            32 Waddell Street
                                                                                            Marietta, GA 30090                      Dismissed


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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       State of Georgia vs Jame Southard                        Criminal                    Magistrate Court of Cobb                        Pending
       21-W-5938                                                                            County                                          On appeal
                                                                                            Public Safety Building                          Concluded
                                                                                            32 Waddell Street
                                                                                            Marietta, GA 30090

       State of Georgia vs James Henry                          Criminal                    Magistrate Court of Cobb                        Pending
       Southard                                                                             County                                          On appeal
       21-W-5940                                                                            Public Safety Building                          Concluded
                                                                                            32 Waddell Street
                                                                                            Marietta, GA 30090


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                         Value of the
                                                                                                                                                              property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                   Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                       Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                            Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes.    Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                               lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

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 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment               Amount of
       Address                                                        transferred                                             or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Falcone Law Firm, PC                                       Attorney Fee                                            9/22/2021               $10,000.00
       363 Lawrence St NE
       Marietta, GA 30060-2056
       imf@falconefirm.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment               Amount of
       Address                                                        transferred                                             or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Rick Boyd                                                      Lexis                                     Paid off car loan with          7/2021
       Athens, TN                                                                                               Lexis Financial



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred




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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                 have it?
                                                                      State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes.    Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

       Auto Memories Classic Cars LLC                                 1325 Jamerson Road                         3 cars-2 Mercedes, 1 Bronco                Unknown
       1375 Jamerson Road                                             Marietta, GA 30066
       Marietta, GA 30066

       Arthur Moss                                                    1325 Jamerson Road                         Mercedes Benz CLK 320                      Unknown
       2349 NW 25th Way                                               Marietta, GA 30066
       Lot 22
       Boca Raton, FL 33434


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                      Nature of the case                    Status of the
        Case Number                                                   Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation
             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Auto Memories Classic Cars LLC                          Auto sales                                       EIN:         824007503
        1375 Jamerson Road
        Marietta, GA 30066                                                                                       From-To      1/32018


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Unknown
        Financial Manager gave out but
        Debtor is unaware of to whom

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ James H. Southard
 James H. Southard                                                        Signature of Debtor 2
 Signature of Debtor 1

 Date      January 19, 2022                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7

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 Fill in this information to identify your case and this filing:

 Debtor 1                     James H. Southard
                              First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         1375 Jamerson Road                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the        Current value of the
         Marietta                          GA        30066                              Land                                       entire property?            portion you own?
         City                              State              ZIP Code                  Investment property                               $846,000.00                 $846,000.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only
         Cobb                                                                           Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




Official Form 106A/B                                                                   Schedule A/B: Property                                                                   page 1
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         If you own or have more than one, list here:
 1.2                                                                     What is the property? Check all that apply
         1363 Jamerson Road                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                                Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                                Manufactured or mobile home
                                                                                                                                Current value of the        Current value of the
         Marietta                          GA        30066                      Land                                            entire property?            portion you own?
         City                              State              ZIP Code          Investment property                                    $100,000.00                 $100,000.00
                                                                                Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                                Other
                                                                                                                                (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                                Debtor 1 only
         Cobb                                                                   Debtor 2 only
         County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                     Check if this is community property
                                                                                At least one of the debtors and another              (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:

                                                                         Adjacent lot to residence-undeveloped



 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $946,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                            $0.00

 Part 3: Describe Your Personal and                  Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                        Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.
6.     Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
         Yes. Describe.....
                                           tables, chairs, bedroom sets,                                                                                               $2,000.00

                                           Exercise equipment, treadmill, weight machine                                                                                  $500.00


7.   Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
       No
       Yes. Describe.....
Official Form 106A/B                                        Schedule A/B: Property                                                                page 2
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                                    4 televisions, computer                                                                                         $1,000.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....
                                    Books, paintings, Figurines                                                                                     $1,000.00


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....

10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11.    Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....
                                    men's clothes                                                                                                     $300.00


12.    Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13.    Non-farm animals
       Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....
                                    family pets (2 dogs)                                                                                                  $0.00


14.    Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                          $4,800.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

16.    Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17.    Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                     Institution name:


                                      17.1.                                Checking account- United community Bank                                    $500.00


Official Form 106A/B                                                   Schedule A/B: Property                                                             page 3
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                                                                           LGE
                                      17.2.    Checking                    account *7356                                                               $0.00


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:
                                 Auto Memories Classic Cars LLC                                 100        %                       Unknown


20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28.   Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




Official Form 106A/B                                                   Schedule A/B: Property                                                          page 4
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               Case 22-50489-lrc                         Doc 1           Filed 01/19/22 Entered 01/19/22 14:47:53                                                 Desc Main
                                                                         Document     Page 19 of 92
 Debtor 1        James H. Southard                                                                                                Case number (if known)

29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,                                       workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                                                             Surrender or refund
                                                                                                                                                                     value:

32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........
                                                          Possible claim against Lisa Terry and Terry Advisory Group                                                              Unknown


34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                   $500.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                    ....................................                      $0.00



Official Form 106A/B                                                           Schedule A/B: Property                                                                                  page 5
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 Debtor 1         James H. Southard                                                                                                  Case number (if known)

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $946,000.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                      $4,800.00
 58. Part 4: Total financial assets, line 36                                                                   $500.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                           +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $5,300.00             Copy personal property total              $5,300.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                       $951,300.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                            page 6
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                                                                                                                                                      01/19/22 2:46 PM
                 Case 22-50489-lrc                  Doc 1            Filed 01/19/22 Entered 01/19/22 14:47:53                            Desc Main
                                                                     Document     Page 21 of 92
 Fill in this information to identify your case:

 Debtor 1                James H. Southard
                         First Name                         Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                  Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      tables, chairs, bedroom sets,                                    $2,000.00                                 $2,000.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Exercise equipment, treadmill, weight                               $500.00                                  $500.00     O.C.G.A. § 44-13-100(a)(4)
      machine
      Line from Schedule A/B: 6.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      4 televisions, computer                                          $1,000.00                                 $1,000.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Books, paintings, Figurines                                      $1,000.00                                 $1,000.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      men's clothes                                                       $300.00                                  $300.00     O.C.G.A. § 44-13-100(a)(6)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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                                                                     Document     Page 22 of 92
 Debtor 1    James H. Southard                                                                           Case number (if known)
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking account- United community                                  $500.00                                   $500.00        O.C.G.A. § 44-13-100(a)(6)
     Bank
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     LGE                                                                    $0.00                                  $300.00        O.C.G.A. § 44-13-100(a)(6)
     account *7356
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
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                                                                                                                                                              01/19/22 2:46 PM
                 Case 22-50489-lrc                  Doc 1            Filed 01/19/22 Entered 01/19/22 14:47:53                                   Desc Main
                                                                     Document     Page 23 of 92
 Fill in this information to identify your case:

 Debtor 1                   James H. Southard
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     A. Hardcastle, Jr.                       Describe the property that secures the claim:                 $58,995.42              $946,000.00           $58,995.42
         Creditor's Name                          1375 Jamerson Road, Marietta, GA
                                                  30066
                                                  Cobb County ; 1363 Jamerson Road,
                                                  Marietta, GA 30066
                                                  Cobb County Adjacent lot to
         T. Michael Flynn                         residence-undeveloped
                                                  As of the date you file, the claim is: Check all that
         402 Tanner Street                        apply.
         Carrollton, GA 30117                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
      community debt

 Date debt was incurred          7.11.2018                 Last 4 digits of account number        FIFA




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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                                                                     Document     Page 24 of 92
 Debtor 1 James H. Southard                                                                               Case number (if known)
              First Name                 Middle Name                     Last Name


 2.2   Department of Treasury                     Describe the property that secures the claim:                  $46,632.55        $946,000.00     $27,622.55
       Creditor's Name                            1375 Jamerson Road, Marietta, GA
                                                  30066
                                                  Cobb County ; 1363 Jamerson Road,
       Internal Revenue Service                   Marietta, GA 30066
       PO Box 145595, Stop                        Cobb County Adjacent lot to
       8420G                                      residence-undeveloped
                                                  As of the date you file, the claim is: Check all that
                                                  apply.
       Cincinnati, OH 45250-5595                       Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)  Tax Lien
     community debt

 Date debt was incurred        2019                        Last 4 digits of account number


 2.3   Freedom Mortgage Corp                      Describe the property that secures the claim:                 $687,443.00        $846,000.00             $0.00
       Creditor's Name                            1375 Jamerson Road, Marietta, GA
       Attn: Bankruptcy                           30066
       907 Pleasant Valley Ave                    Cobb County
       Ste 3                                      As of the date you file, the claim is: Check all that
                                                  apply.
       Mount Laurel, NJ                                Contingent
       08054-1210
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)  First Mortgage
     community debt

 Date debt was incurred        2017-10                     Last 4 digits of account number        0718

       Georgia Department of
 2.4
       Revenue                                    Describe the property that secures the claim:                  $34,638.31        $946,000.00     $34,638.31
       Creditor's Name                            1375 Jamerson Road, Marietta, GA
                                                  30066
                                                  Cobb County ; 1363 Jamerson Road,
       Compliance Division                        Marietta, GA 30066
       ARCS - Bankruptcy                          Cobb County Adjacent lot to
       1800 Century Blvd NE,                      residence-undeveloped
                                                  As of the date you file, the claim is: Check all that
       Suite 9100                                 apply.
       Atlanta, GA 30345-3202                          Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)  Tax Lien
     community debt

 Date debt was incurred        2018                        Last 4 digits of account number




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 4
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 Debtor 1 James H. Southard                                                                               Case number (if known)
              First Name                 Middle Name                     Last Name


       J Robinson Enterprises
 2.5
       LLC                                        Describe the property that secures the claim:                 $150,000.00           $100,000.00        $50,000.00
       Creditor's Name                            1363 Jamerson Road, Marietta, GA
                                                  30066
                                                  Cobb County Adjacent lot to
                                                  residence-undeveloped
                                                  As of the date you file, the claim is: Check all that
       4704 Aberlour Way                          apply.
       Marietta, GA 30067                              Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred        2019                        Last 4 digits of account number


 2.6   Small Business Admin                       Describe the property that secures the claim:                 $500,000.00                 $0.00      $500,000.00
       Creditor's Name


       6801 Lake Worth Rd
                                                  As of the date you file, the claim is: Check all that
       Ste 209                                    apply.
       Lake Worth, FL 33467                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred        5/2021                      Last 4 digits of account number


 2.7   TCF National Bank                          Describe the property that secures the claim:                 $139,547.00           $846,000.00               $0.00
       Creditor's Name                            1375 Jamerson Road, Marietta, GA
                                                  30066
                                                  Cobb County
                                                  As of the date you file, the claim is: Check all that
       2508 South Louise Ave                      apply.
       Sioux Falls, SD 57106                           Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)  Second Mortgage
     community debt

 Date debt was incurred                                    Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                             $1,617,256.28
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $1,617,256.28

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 4
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                                                                     Document     Page 26 of 92
 Debtor 1 James H. Southard                                                                Case number (if known)
              First Name                Middle Name                     Last Name

 debts in Part 1, do not fill out or submit this page.

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.2
          Internal Revenue Service
          PO Box 7346                                                                Last 4 digits of account number
          Philadelphia, PA 19101-7346

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.3
          Freedom Mortgage Corp
          907 Pleasant Valley Ave                                                    Last 4 digits of account number
          Mount Laurel, NJ 08054-1210




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 4
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                 Case 22-50489-lrc                      Doc 1         Filed 01/19/22 Entered 01/19/22 14:47:53                                      Desc Main
                                                                      Document     Page 27 of 92
 Fill in this information to identify your case:

 Debtor 1                     James H. Southard
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                                         amount                amount
              Cherokee County Tax
 2.1          Commissioner                                           Last 4 digits of account number       5399                $748.73              $748.73                 $0.00
              Priority Creditor's Name
              2780 Marietta HWY                                      When was the debt incurred?           2021
              Canton, GA 30114
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Taxes
            Yes


 2.2          Georgia Department of Revenue                          Last 4 digits of account number       0325              $3,912.00          $3,912.00                   $0.00
              Priority Creditor's Name
              Resolution Unit                                        When was the debt incurred?           2019
              PO Box 105499
              Atlanta, GA 30348
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Tax Debt
            Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 29
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                                                                                                                                                                     01/19/22 2:46 PM
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 Debtor 1 James H. Southard                                                                                Case number (if known)

 2.3        Internal Revenue Service                                 Last 4 digits of account number                         $2,913.00                    $0.00           $2,913.00
            Priority Creditor's Name
            Stop 6525                                                When was the debt incurred?
            Kansas City, MO 64999-0025
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations
          Check if this claim is for a     community                    Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No
            Yes



 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Amex                                                       Last 4 digits of account number        4893                                                   $10,101.00
            Nonpriority Creditor's Name
            Correspondence/Bankruptcy                                  When was the debt incurred?            2020-02-26
            PO Box 981540
            El Paso, TX 79998-1540
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                             Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                    Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                No                                                        Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                       Other. Specify   Trade debt


 4.2        Amex                                                       Last 4 digits of account number        2623                                                     $8,354.00
            Nonpriority Creditor's Name
            Correspondence/Bankruptcy                                  When was the debt incurred?            2019-12
            PO Box 981540
            El Paso, TX 79998-1540
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                             Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                    Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                No                                                        Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                       Other. Specify   Trade debt




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 4.3      Andrew Lea                                                 Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          11 Buffalo Ave                                             When was the debt incurred?
          Islip, NY 11751
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4      Andrew Sangkala                                            Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          1 Columbus Place                                           When was the debt incurred?
          #19A
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5      Armand Breard                                              Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          304 Three Fingers Drive                                    When was the debt incurred?
          Collinston, LA 71229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.6      Arthur Moss                                                Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          2349 NW 25th Way                                           When was the debt incurred?
          Lot 22
          Boca Raton, FL 33434
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7      Atlanta Gastroenterology Assoc                             Last 4 digits of account number       1APS                                                  $35.67
          Nonpriority Creditor's Name
          PO Box 3475                                                When was the debt incurred?           2021
          Toledo, OH 43607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Medical bills


 4.8      Barry Clements                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          45 El Camino Real                                          When was the debt incurred?
          Chelsea, AL 35043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.9      Bill Leyton                                                Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          185 Carnegie Drive                                         When was the debt incurred?           4/2021
          Newport News, VA 23606-2612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 0        Brandon Anderson                                           Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          59 Wellington Walk                                         When was the debt incurred?
          Douglasville, GA 30134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 1        Capital One Bank USA N                                     Last 4 digits of account number       9856                                            $21,873.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2019-12
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




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 4.1
 2        Capital One Bank USA N                                     Last 4 digits of account number       5303                                              $8,456.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2001-11
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1
 3        Capital One Bank USA N                                     Last 4 digits of account number       1817                                                 $696.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2002-11
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.1
 4        CBSG/Par                                                   Last 4 digits of account number                                                       $52,379.96
          Nonpriority Creditor's Name
          c/o Daniel Sterner                                         When was the debt incurred?           5/2020
          Development Specialists Inc
          500 W. Cypress Creek Rd, Ste 400
          Fort Lauderdale, FL 33309
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 5        Chem Bktcf National Ba                                     Last 4 digits of account number       0001                                           $145,066.00
          Nonpriority Creditor's Name
          Attn:Customer Care                                         When was the debt incurred?           2018-11
          Center/Bankruptcy
          333 E Main St
          Midland, MI 48640-6511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 6        Cheyumski                                                  Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 7        Cory Alcala                                                Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          129 West Shipyard Road                                     When was the debt incurred?           2/18/2021
          Mount Pleasant, SC 29464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 8        CSC                                                        Last 4 digits of account number       1098                                               Unknown
          Nonpriority Creditor's Name
          PO Box 2576                                                When was the debt incurred?           3/2021
          Springfield, IL 62703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade Debt- UCC


 4.1
 9        Daniel Kopp                                                Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          17211 Highlander Drive                                     When was the debt incurred?           12/2020
          Ramona, CA 92065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 0        Dean Brown                                                 Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          5720 South Loop Lane                                       When was the debt incurred?
          Fort Mohave, AZ 86426
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.2
 1        Don Henderson                                              Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 2        Dural Grey                                                 Last 4 digits of account number                                                       $30,000.00
          Nonpriority Creditor's Name
          9 Greywood Lane                                            When was the debt incurred?           2017
          Cartersville, GA 30120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Loan


 4.2
 3        Ernest Larry Johnson                                       Last 4 digits of account number                                                       $12,000.00
          Nonpriority Creditor's Name
          109 Lynwood Lane                                           When was the debt incurred?           7/2019
          Johnson City, TN 37615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.2
 4        First Federal Credit Control Inc                           Last 4 digits of account number       D810                                                 $105.00
          Nonpriority Creditor's Name
          24700 Chagrin Blvd #205                                    When was the debt incurred?
          Beachwood, OH 44122-5662
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Services


 4.2
 5        First Premier Bank                                         Last 4 digits of account number       4996                                                    $7.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2009-02
          PO Box 5524
          Sioux Falls, SD 57117-5524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.2
 6        GA Anesthesiologists PC                                    Last 4 digits of account number       7063                                                  $33.86
          Nonpriority Creditor's Name
          531 Roselane Street #830                                   When was the debt incurred?           2021
          Marietta, GA 30066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Medical Bills




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 4.2
 7        GFE NY LLC                                                 Last 4 digits of account number                                                       $33,588.00
          Nonpriority Creditor's Name
          c/o Yeshaya Gorkin, Esq                                    When was the debt incurred?
          Ainsworth Gorkin PLLC
          PO Box 605
          New York, NY 10038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 8        Glenn Shelhouse                                            Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          41 Heartwood Drive                                         When was the debt incurred?
          Cataula, GA 31804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 9        Global Funding Experts                                     Last 4 digits of account number                                                       $15,187.50
          Nonpriority Creditor's Name
          27-01 Queens Plz N#802                                     When was the debt incurred?           2/24/2021
          Long Island City, NY 11101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.3
 0        Harrison Smith                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          c/o Eddy Smith, Esq.                                       When was the debt incurred?
          Kennerly Montgomery
          550 Main Street, 4th Floor
          Knoxville, TN 37902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 1        Harry Dow                                                  Last 4 digits of account number                                                       $15,900.00
          Nonpriority Creditor's Name
          1730 W. Genesee Rd                                         When was the debt incurred?
          Auburn, NY 13020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 2        Huw Richards                                               Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          54 Greene Street                                           When was the debt incurred?
          Ste 4B
          New York, NY 10013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.3
 3        IRUKA Capital Group LLC                                    Last 4 digits of account number       1868                                            $26,232.50
          Nonpriority Creditor's Name
          162 Elmora Ave #211                                        When was the debt incurred?           4/2021
          Elizabeth, NJ 07202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt- UCC


 4.3
 4        ITRIA Ventures LLC                                         Last 4 digits of account number                                                       $45,750.00
          Nonpriority Creditor's Name
          c/o Paul Williams, Esq.                                    When was the debt incurred?           11/24/2020
          1230 Peachtree Street, Ste 2445
          Atlanta, GA 30309
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 5        J Robinson Enterprises LLC                                 Last 4 digits of account number                                                       $70,000.00
          Nonpriority Creditor's Name
          4704 Aberlour Way                                          When was the debt incurred?           2018
          Marietta, GA 30067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.3
 6        James Robinson                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4704 Aberlour Way                                          When was the debt incurred?           8/2019
          Marietta, GA 30067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 7        Jason Hooten                                               Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          38 Casassa Ct                                              When was the debt incurred?
          Napa, CA 94558
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 8        Jerome Carter                                              Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          100 Melrose Creek Drive                                    When was the debt incurred?
          Stockbridge, GA 30281
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.3
 9        John Moore                                                 Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          14 Justice Drive                                           When was the debt incurred?
          Belleville, IL 62226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 0        John Rodrigues                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 1        John Steele                                                Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          17238 State Hwy                                            When was the debt incurred?
          Hayfield, MN 55940
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.4
 2        Judd Swarzmann                                             Last 4 digits of account number                                                       $50,000.00
          Nonpriority Creditor's Name
          4460 Libbitt Aave                                          When was the debt incurred?           7/2019
          Encino, CA 91436
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 3        Julius Mullins                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          8913 Rue Feli City                                         When was the debt incurred?
          Baton Rouge, LA 70809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 4        Larry Pugh                                                 Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          3107 Cobblestone Drive                                     When was the debt incurred?
          Milton, FL 32571
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.4
 5        Leo Rodovsky                                               Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          2941 Keystone Road                                         When was the debt incurred?
          Northbrook, IL 60062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 6        Leon Roditi                                                Last 4 digits of account number                                                            $600.00
          Nonpriority Creditor's Name
          3575 NW 60th Street                                        When was the debt incurred?

          Miami, FL 33142
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 7        Lisa Terry                                                 Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          Terry Advisory Group                                       When was the debt incurred?           2021
          5712 Brookstone Walk
          Acworth, GA 30101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Potential business         claim




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 4.4
 8        Mike Looney                                                Last 4 digits of account number                                                       $99,999.99
          Nonpriority Creditor's Name
          c/o Gary Jones                                             When was the debt incurred?           1/19/2018
          145 Church Street, Ste 103
          Marietta, GA 30060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify
                                                                                         Judgement
 4.4
 9        Mike Mohrhardt                                             Last 4 digits of account number                                                       $25,000.00
          Nonpriority Creditor's Name
          9418 Rolling Ridge Drive                                   When was the debt incurred?           8/2020
          Traverse City, MI 49686
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 0        Mr. Powers                                                 Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          c/o T. Michael Flynn                                       When was the debt incurred?
          402 Tanner Street
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5
 1        Newco Capital Group                                        Last 4 digits of account number                                                         $5,954.00
          Nonpriority Creditor's Name
          80 Broad Street                                            When was the debt incurred?           3/2021
          Ste 3303
          New York, NY 10004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 2        Phil Robertson                                             Last 4 digits of account number                                                       $42,500.00
          Nonpriority Creditor's Name
          1488 Fallsbrook Ct NW                                      When was the debt incurred?

          Acworth, GA 30101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 3        RBR Global                                                 Last 4 digits of account number       3706                                           $110,695.00
          Nonpriority Creditor's Name
          c/o Douglas L Brooks PC                                    When was the debt incurred?           2/19/2021
          PO Box 8477
          Atlanta, GA 31106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5
 4        Regions Bank                                               Last 4 digits of account number       1801                                              $6,776.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2017-10
          2050 Parkway Office Cir
          Hoover, AL 35244-1805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Personal Loan


 4.5
 5        Richard Fell                                               Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          20 Via Visione                                             When was the debt incurred?
          unit 102
          Henderson, NV 89011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 6        RLI Insurance Co                                           Last 4 digits of account number       0507                                            $17,000.00
          Nonpriority Creditor's Name
          Dept 3500                                                  When was the debt incurred?           10/21/2021
          PO Box 844122
          Kansas City, MO 64184-4211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5
 7        Robert Carmack                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          14207 County Rd 22                                         When was the debt incurred?           8/2020
          Fort Lupton, CO 80621
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 8        Robert Hennermann                                          Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          212 Cleveland Ct                                           When was the debt incurred?
          Brick, NJ 08724
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 9        Robin Thompson                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          1517 Marigold Drive                                        When was the debt incurred?
          Bethlehem, GA 30620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.6
 0        ROC Funding Group                                          Last 4 digits of account number                                                       $43,366.92
          Nonpriority Creditor's Name
          1457 Richmond Road                                         When was the debt incurred?           2021
          Staten Island, NY 10314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 1        ROC Funding Group                                          Last 4 digits of account number                                                       $25,110.92
          Nonpriority Creditor's Name
          1457 Richmond Road                                         When was the debt incurred?
          Staten Island, NY 10314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 2        Rosa Varela                                                Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          1505 Ruth Deerman Place                                    When was the debt incurred?
          El Paso, TX 79912
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.6
 3        Russ Patterson                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 4        Sflndcorp                                                  Last 4 digits of account number       1569                                            $44,364.00
          Nonpriority Creditor's Name
          375 Healdsburg Ave                                         When was the debt incurred?           2021-03
          Ste 280
          Healdsburg, CA 95448-4151
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.6
 5        Stephen Jung                                               Last 4 digits of account number       3435                                               Unknown
          Nonpriority Creditor's Name
          225 S. Main Street                                         When was the debt incurred?           8/2020
          Red Bud, IL 62278
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt- UCC




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 4.6
 6        Steve Garrison                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
          806 Riverfront Drive                                       When was the debt incurred?
          Augusta, GA 30901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 7        Steve Goldberg                                             Last 4 digits of account number                                                          Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 8        Steve Guenter                                              Last 4 digits of account number                                                       $15,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           12/2020
          533 Nautilus Drive
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.6
 9        Sure Source Capital LLC                                    Last 4 digits of account number                                                         $5,000.00
          Nonpriority Creditor's Name
          35 Macadam Terrace                                         When was the debt incurred?           7/2021
          Milford, CT 06461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade Debt- services


 4.7
 0        Syncb/Care Credit                                          Last 4 digits of account number       2009                                                    $0.00
          Nonpriority Creditor's Name
          Synchrony Bank/Care Credit                                 When was the debt incurred?           1/2018
          ATTN Bankruptcy Dept
          PO Box 965064

          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


 4.7
 1        Toyota Motor Credit                                        Last 4 digits of account number                                                       $63,915.00
          Nonpriority Creditor's Name
          PO Box 8026                                                When was the debt incurred?           3/2019
          Cedar Rapids, IA 52409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Loan




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 4.7
 2        Unique Cars                                                Last 4 digits of account number                                                       $23,000.00
          Nonpriority Creditor's Name
          170 NW 16th Street, Ste A                                  When was the debt incurred?

          Boca Raton, FL 33432
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 3        United Community Bank                                      Last 4 digits of account number                                                      $500,000.00
          Nonpriority Creditor's Name
          2215 Riversone Blvd                                        When was the debt incurred?
          Canton, GA 30114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   SBA      Loan Servicer


 4.7
 4        United Community Bank                                      Last 4 digits of account number                                                       $17,000.00
          Nonpriority Creditor's Name
          2215 Riversone Blvd                                        When was the debt incurred?
          Canton, GA 30114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Personal Loan




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 4.7
 5         Wellstar Health System                                    Last 4 digits of account number       9614                                                          $69.40
           Nonpriority Creditor's Name
           PO Box 742625                                             When was the debt incurred?           2021
           Atlanta, GA 30374
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Medical Bills

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Amex                                                          Line 4.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 981537
 El Paso, TX 79998-1537
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Amex                                                          Line 4.2 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 981537
 El Paso, TX 79998-1537
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA N                                        Line 4.11 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 31293
 Salt Lake City, UT 84131-0293
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA N                                        Line 4.12 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 31293
 Salt Lake City, UT 84131-0293
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA N                                        Line 4.13 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 31293
 Salt Lake City, UT 84131-0293
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Contract Financing Solutions Inc                              Line 4.14 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 22 N. 3rd Street

 Philadelphia, PA 19106
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pietragallo                                                   Line 4.14 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 7 West State Street
 Ste 100
 Sharon, PA 16146
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chem Bktcf National Ba                                        Line 4.15 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

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 333 E Main St
 Midland, MI 48640-6511
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CSC                                                           Line 4.18 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 801 Adlai Stevenson Drive
 Springfield, IL 62703
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard Evins                                                 Line 4.19 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Schoenthaler Law Group
 406 Ridley Ave
 Lagrange, GA 30240
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Massey Services, Inc                                          Line 4.24 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 315 Groveland Street
 Orlando, FL 32804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Premier Bank                                            Line 4.25 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 3820 N Louise Ave
 Sioux Falls, SD 57107-0145
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Harrison Smith                                                Line 4.30 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 481 Cherokee Blvd
 Knoxville, TN 37919
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Renee Rockwell                                                Line 4.43 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 3481 Lakeside Drive #P306
 Atlanta, GA 30326
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Regions Bank                                                  Line 4.54 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 720 N 39th St
 Birmingham, AL 35222
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Regions Bank                                                  Line 4.54 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Collections Center
 PO Box 11407
 Birmingham, AL 35282-8651
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sflndcorp                                                     Line 4.64 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1 Letterman Dr
 San Francisco, CA 94129-1494
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sure Source Capital                                           Line 4.69 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 330 Madison Ave, Ste 6

 New York, NY 10017

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 28 of 29
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                                                                                                                                                     01/19/22 2:46 PM
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 Debtor 1 James H. Southard                                                                             Case number (if known)
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                 7,573.73
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 7,573.73

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $             1,491,116.73

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             1,491,116.73




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 29 of 29
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                                                                                                                                                  01/19/22 2:46 PM
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                                                                     Document     Page 56 of 92
 Fill in this information to identify your case:

 Debtor 1                James H. Southard
                         First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                    State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.2
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.3
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.4
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.5
           Name


           Number      Street

           City                                    State                  ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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                                                                       Document     Page 57 of 92
 Fill in this information to identify your case:

 Debtor 1                   James H. Southard
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Auto Memories Classic Cars LLC                                                        Schedule D, line
                1375 Jamerson Road                                                                    Schedule E/F, line    4.1
                Marietta, GA 30066                                                                    Schedule G
                                                                                                    Amex



    3.2         Auto Memories Classic Cars LLC                                                        Schedule D, line
                1375 Jamerson Road                                                                    Schedule E/F, line    4.53
                Marietta, GA 30066                                                                    Schedule G
                                                                                                    RBR Global



    3.3         Auto Memories Classic Cars LLC                                                         Schedule D, line
                1375 Jamerson Road                                                                     Schedule E/F, line   4.35
                Marietta, GA 30066                                                                     Schedule G
                                                                                                    J Robinson Enterprises LLC



    3.4         Auto Memories Classic Cars LLC                                                        Schedule D, line
                1375 Jamerson Road                                                                    Schedule E/F, line    4.52
                Marietta, GA 30066                                                                    Schedule G
                                                                                                    Phil Robertson




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.5      Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line  4.33
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  IRUKA Capital Group LLC



    3.6      Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.65
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Stephen Jung



    3.7      Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.18
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  CSC



    3.8      Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.60
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  ROC Funding Group



    3.9      Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.61
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  ROC Funding Group



    3.10     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.67
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Steve Goldberg



    3.11     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.31
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Harry Dow



    3.12     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.43
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Julius Mullins



    3.13     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.72
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Unique Cars



Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:

    3.14     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.8
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Barry Clements



    3.15     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.46
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Leon Roditi



    3.16     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.44
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Larry Pugh



    3.17     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line  4.29
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Global Funding Experts



    3.18     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line    4.69
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Sure Source Capital LLC



    3.19     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.17
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Cory Alcala



    3.20     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.10
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Brandon Anderson



    3.21     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.5
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Armand Breard




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 3 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.22     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.20
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Dean Brown



    3.23     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.16
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Cheyumski



    3.24     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.55
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Richard Fell



    3.25     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.66
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Steve Garrison



    3.26     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.21
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Don Henderson



    3.27     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.58
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Robert Hennermann



    3.28     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.37
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Jason Hooten



    3.29     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.3
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Andrew Lea



    3.30     Auto Memories Classic Cars LLC                                                           Schedule D, line
             1375 Jamerson Road                                                                       Schedule E/F, line   4.9
             Marietta, GA 30066                                                                       Schedule G
                                                                                                  Bill Leyton



Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 4 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:

    3.31     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.6
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Arthur Moss



    3.32     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.63
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Russ Patterson



    3.33     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.32
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Huw Richards



    3.34     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.45
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Leo Rodovsky



    3.35     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.40
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  John Rodrigues



    3.36     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.4
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Andrew Sangkala



    3.37     Auto Memories Classic Cars LLC                                                         Schedule D, line   2.6
             1375 Jamerson Road                                                                     Schedule E/F, line
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Small Business Admin



    3.38     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.28
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Glenn Shelhouse




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 5 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.39     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.30
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Harrison Smith



    3.40     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.41
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  John Steele



    3.41     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.59
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Robin Thompson



    3.42     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.62
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Rosa Varela



    3.43     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.34
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  ITRIA Ventures LLC



    3.44     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.51
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Newco Capital Group



    3.45     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.68
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Steve Guenter



    3.46     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.57
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Robert Carmack



    3.47     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.23
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Ernest Larry Johnson



Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 6 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:

    3.48     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.19
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Daniel Kopp



    3.49     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.49
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Mike Mohrhardt



    3.50     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.42
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Judd Swarzmann



    3.51     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line  4.73
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  United Community Bank



    3.52     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.39
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  John Moore



    3.53     Auto Memories Classic Cars LLC                                                          Schedule D, line
             1375 Jamerson Road                                                                      Schedule E/F, line    4.38
             Marietta, GA 30066                                                                      Schedule G
                                                                                                  Jerome Carter



    3.54     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.56
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  RLI Insurance Co



    3.55     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.27
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  GFE NY LLC




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 7 of 8
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 Debtor 1 James H. Southard                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.56     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.14
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  CBSG/Par



    3.57     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.50
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Mr. Powers



    3.58     Auto Memories Classic Cars LLC                                                         Schedule D, line
             1375 Jamerson Road                                                                     Schedule E/F, line     4.36
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  James Robinson



    3.59     Luz Rubio Cruz                                                                         Schedule D, line
             1375 Jamerson Rd                                                                       Schedule E/F, line   2.2
             Marietta, GA 30066                                                                     Schedule G
                                                                                                  Georgia Department of Revenue




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 8 of 8
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Fill in this information to identify your case:

Debtor 1                      James H. Southard

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                              Check if this is:
(If known)                                                                                                  An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse
       If you have more than one job,        Employment status         Employed                                   Employed
       attach a separate page with
       information about additional                                    Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or                              Sales
       self-employed work.
                                             Employer's name        Self-employed
       Occupation may include student
       or homemaker, if it applies.          Employer's address



                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $             0.00      $              0.00

3.     Estimate and list monthly overtime pay.                                               3.   +$             0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                          4.    $           0.00            $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
                                                                                                                                                                                   01/19/22 2:46 PM
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Debtor 1    James H. Southard                                                                                                        Case number (if known)



                                                                                                                                         For Debtor 1            For Debtor 2 or
                                                                                                                                                                 non-filing spouse
     Copy line 4 here ...................................................................................................     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $              0.00     $               0.00
     5b.      Mandatory contributions for retirement plans                                                                    5b.        $              0.00     $               0.00
     5c.      Voluntary contributions for retirement plans                                                                    5c.        $              0.00     $               0.00
     5d.      Required repayments of retirement fund loans                                                                    5d.        $              0.00     $               0.00
     5e.      Insurance                                                                                                       5e.        $              0.00     $               0.00
     5f.      Domestic support obligations                                                                                    5f.        $              0.00     $               0.00
     5g.      Union dues                                                                                                      5g.        $              0.00     $               0.00
     5h.      Other deductions. Specify:                                                                                      5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                               8a.        $              0.00     $               0.00
     8b.      Interest and dividends                                                                                          8b.        $              0.00     $               0.00
     8c.      Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                            8c.        $          0.00         $               0.00
     8d.      Unemployment compensation                                                                                       8d.        $          0.00         $               0.00
     8e.      Social Security                                                                                                 8e.        $      1,250.00         $               0.00
     8f.      Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                                                        8f.  $                    0.00   $                 0.00
     8g.      Pension or retirement income                                                                                    8g. $                     0.00   $                 0.00
     8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $          1,250.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $            1,250.00 + $             0.00 = $           1,250.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                         0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                            12.   $           1,250.00
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Commission Sales. Hope to generate $2500+/mo




Official Form 106I                                                                                 Schedule I: Your Income                                                                page 2
                                                                                                                                                  01/19/22 2:46 PM
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Fill in this information to identify your case:

Debtor 1                 James H. Southard                                                                  Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?
      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than                Yes
      yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            3,900.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            300.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                          1,400.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                  6a.    $                           600.00
      6b. Water, sewer, garbage collection                                                                6b.    $                           200.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                           450.00
      6d. Other. Specify:                                                                                 6d.    $                             0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
                                                                                                                                                        01/19/22 2:46 PM
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Debtor 1     James H. Southard                                                                         Case number (if known)

7.    Food and housekeeping supplies                                                           7. $                                               800.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                50.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 30.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                                 350.00
      15c. Vehicle insurance                                                               15c. $                                                 100.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,480.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,480.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               1,250.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,480.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                              -7,230.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
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 Fill in this information to identify your case:

 Debtor 1                  James H. Southard
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
           whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
           on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that   Did you claim the property
                                                               secures a debt?                                   as exempt on Schedule C?



    Creditor's         A. Hardcastle, Jr.                                   Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        1375 Jamerson Road, Marietta,                     Reaffirmation Agreement.
    property              GA 30066                                          Retain the property and [explain]:
    securing debt:        Cobb County


    Creditor's         A. Hardcastle, Jr.                                   Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        1363 Jamerson Road                                Reaffirmation Agreement.
    property              , Marietta, GA 30066                              Retain the property and [explain]:
    securing debt:        Cobb County Adjacent lot to
                          residence-undeveloped


    Creditor's         Department of Treasury                               Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        1375 Jamerson Road, Marietta,                     Reaffirmation Agreement.
    property              GA 30066                                          Retain the property and [explain]:
    securing debt:        Cobb County



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      James H. Southard                                                                      Case number (if known)



    Creditor's     Department of Treasury                                   Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1363 Jamerson Road                                  Reaffirmation Agreement.
    property            , Marietta, GA 30066                                Retain the property and [explain]:
    securing debt:      Cobb County Adjacent lot to
                        residence-undeveloped


    Creditor's     Freedom Mortgage Corp                                    Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1375 Jamerson Road, Marietta,                       Reaffirmation Agreement.
    property            GA 30066                                            Retain the property and [explain]:
    securing debt:      Cobb County


    Creditor's     Georgia Department of Revenue                            Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1375 Jamerson Road, Marietta,                       Reaffirmation Agreement.
    property            GA 30066                                            Retain the property and [explain]:
    securing debt:      Cobb County


    Creditor's     Georgia Department of Revenue                            Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1363 Jamerson Road                                  Reaffirmation Agreement.
    property            , Marietta, GA 30066                                Retain the property and [explain]:
    securing debt:      Cobb County Adjacent lot to
                        residence-undeveloped


    Creditor's     J Robinson Enterprises LLC                               Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1363 Jamerson Road                                  Reaffirmation Agreement.
    property            , Marietta, GA 30066                                Retain the property and [explain]:
    securing debt:      Cobb County Adjacent lot to
                        residence-undeveloped


    Creditor's     TCF National Bank                                        Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1375 Jamerson Road, Marietta,                       Reaffirmation Agreement.
    property            GA 30066                                            Retain the property and [explain]:
    securing debt:      Cobb County

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                    No


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      James H. Southard                                                                     Case number (if known)

 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ James H. Southard                                                        X
       James H. Southard                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        January 19, 2022                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

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                                                                        Document     Page 72 of 92
 Fill in this information to identify your case:

 Debtor 1                   James H. Southard
                            First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             946,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                5,300.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             951,300.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,617,256.28

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                7,573.73

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,491,116.73


                                                                                                                                    Your total liabilities $              3,115,946.74


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                1,250.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,480.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
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 Debtor 1      James H. Southard                                                          Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    James H. Southard
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ James H. Southard                                                     X
              James H. Southard                                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       January 19, 2022                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       James H. Southard                                                                                                                     Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $              10,000.00
             Prior to the filing of this statement I have received .......................................................                     $              10,000.00
             Balance Due ...................................................................................................................   $                   0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                 agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
                 liens on household goods. Analysis of business related claims including impact of filing business bankruptcy on individual
                 debts/guarantees. Consultation with criminal defense attorney on related allegations.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions or any other adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     January 19, 2022                                                                                     /s/ Ian Falcone
     Date                                                                                                 Ian Falcone
                                                                                                          Signature of Attorney
                                                                                                          The Falcone Law Firm, PC
                                                                                                          363 Lawrence St NE
                                                                                                          Marietta, GA 30060-2056
                                                                                                            Fax:
                                                                                                          imf@falconefirm.com
                                                                                                          Name of law firm




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                                                             United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      James H. Southard                                                                        Case No.
                                                                                    Debtor(s)        Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: January 19, 2022                                                  /s/ James H. Southard
                                                                         James H. Southard
                                                                         Signature of Debtor




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:            Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167       filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571      administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738       total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200          filing fee                                               years or 5 years, depending on your income and other
 +                  $78          administrative fee                                       factors.
                   $278          total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235          filing fee                                                      debts for fraud or defalcation while acting in a
 +                  $78          administrative fee                                              fiduciary capacity,
                   $313          total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty of
        perjury—either orally or in writing—in connection                                 In addition, after filing a bankruptcy case, you generally
        with a bankruptcy case, you may be fined,                                         must complete a financial management instructional
        imprisoned, or both.                                                              course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
 Debtor 1              James H. Southard
 Debtor 2                                                                                                    1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Northern District of Georgia                                applies will be made under Chapter 7 Means Test
                                                                                                                Calculation (Official Form 122A-2).
 Case number                                                                                                 3. The Means Test does not apply now because of
 (if known)                                                                                                     qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
       Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
          penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
          apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. § 101(10A).
    For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the 6 months,
    add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same
    rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                  Column B
                                                                                                         Debtor 1                  Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                0.00      $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                                    Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                        -$        0.00
        Net monthly income from a business, profession, or farm $                  0.00 Copy here -> $                   0.00      $               0.00
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                        -$        0.00
        Net monthly income from rental or other real property             $        0.00 Copy here -> $                   0.00      $               0.00
  7. Interest, dividends, and royalties                                                                  $               0.00      $               0.00




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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 Debtor 1      James H. Southard                                                                                 Case number (if known)



                                                                                                             Column A                     Column B
                                                                                                             Debtor 1                     Debtor 2 or
                                                                                                                                          non-filing spouse
  8. Unemployment compensation                                                           $                                      0.00      $            0.00
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
            For you ....................................................................$        0.00
         For your spouse.......................................................$       0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                       $                              0.00      $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war crime,
      a crime against humanity, or international or domestic terrorism; or compensation
      pension, pay, annuity, or allowance paid by the United States Government in
      connection with a disability, combat-related injury or disability, or death of a member of
      the uniformed services. If necessary, list other sources on a separate page and put the
      total below..
                 .                                                                                           $                  0.00      $            0.00
                                                                                                             $                  0.00      $            0.00
                     Total amounts from separate pages, if any.                                          +   $                  0.00      $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                        $             0.00       +   $           0.00    =    $             0.00

                                                                                                                                                           Total current monthly
                                                                                                                                                           income

 Part 2:          Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:

       12a. Copy your total current monthly income from line 11.........................................................Copy line 11 here=>            $                 0.00

               Multiply by 12 (the number of months in a year)                                                                                                 x 12
       12b. The result is your annual income for this part of the form                                                                           12b. $                  0.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                 GA

       Fill in the number of people in your household.                                      2
       Fill in the median family income for your state and size of household. ........................................................... 13.          $         68,295.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for
       this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.                Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.                Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A–2.
 Part 3:          Sign Below
               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

              X /s/ James H. Southard
                     James H. Southard
Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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 Debtor 1    James H. Southard                                                                    Case number (if known)

                Signature of Debtor 1
        Date January 19, 2022
             MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                             page 3
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 Debtor 1    James H. Southard                                                                    Case number (if known)



                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 07/01/2021 to 12/31/2021.

Non-CMI - Social Security Act Income
Source of Income: Social security income
Constant income of $1,250.00 per month.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                             page 4
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                            A. Hardcastle, Jr.
                            T. Michael Flynn 402 Tanner Street
                            Carrollton, GA 30117


                            Amex
                            PO Box 981537
                            El Paso, TX 79998-1537


                            Amex
                            Correspondence/Bankruptcy
                            PO Box 981540
                            El Paso, TX 79998-1540


                            Andrew Lea
                            11 Buffalo Ave
                            Islip, NY 11751


                            Andrew Sangkala
                            1 Columbus Place #19A
                            New York, NY 10019


                            Armand Breard
                            304 Three Fingers Drive
                            Collinston, LA 71229


                            Arthur Moss
                            2349 NW 25th Way Lot 22
                            Boca Raton, FL 33434


                            Atlanta Gastroenterology Assoc
                            PO Box 3475
                            Toledo, OH 43607


                            Auto Memories Classic Cars LLC
                            1375 Jamerson Road
                            Marietta, GA 30066


                            Barry Clements
                            45 El Camino Real
                            Chelsea, AL 35043


                            Bill Leyton
                            185 Carnegie Drive
                            Newport News, VA 23606-2612


                            Brandon Anderson
                            59 Wellington Walk
                            Douglasville, GA 30134


                            Capital One Bank USA N
                            Attn: Bankruptcy
                            PO Box 30285
                            Salt Lake City, UT 84130-0285
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                            Capital One Bank USA N
                            PO Box 31293
                            Salt Lake City, UT 84131-0293


                            CBSG/Par
                            c/o Daniel Sterner
                            Development Specialists Inc 500 W. Cypre
                            Fort Lauderdale, FL 33309


                            Chem Bktcf National Ba
                            Attn:Customer Care Center/Bankruptcy
                            333 E Main St
                            Midland, MI 48640-6511


                            Cherokee County Tax Commissioner
                            2780 Marietta HWY
                            Canton, GA 30114


                            Cheyumski


                            Contract Financing Solutions Inc
                            22 N. 3rd Street
                            Philadelphia, PA 19106


                            Cory Alcala
                            129 West Shipyard Road
                            Mount Pleasant, SC 29464


                            CSC
                            PO Box 2576
                            Springfield, IL 62703


                            CSC
                            801 Adlai Stevenson Drive
                            Springfield, IL 62703


                            Daniel Kopp
                            17211 Highlander Drive
                            Ramona, CA 92065


                            Dean Brown
                            5720 South Loop Lane
                            Fort Mohave, AZ 86426


                            Department of Treasury
                            Internal Revenue Service
                            PO Box 145595, Stop 8420G
                            Cincinnati, OH 45250-5595


                            Don Henderson


                            Dural Grey
                            9 Greywood Lane
                            Cartersville, GA 30120
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                            Ernest Larry Johnson
                            109 Lynwood Lane
                            Johnson City, TN 37615


                            First Federal Credit Control Inc
                            24700 Chagrin Blvd #205
                            Beachwood, OH 44122-5662


                            First Premier Bank
                            Attn: Bankruptcy
                            PO Box 5524
                            Sioux Falls, SD 57117-5524


                            First Premier Bank
                            3820 N Louise Ave
                            Sioux Falls, SD 57107-0145


                            Freedom Mortgage Corp
                            Attn: Bankruptcy
                            907 Pleasant Valley Ave
                            Ste 3
                            Mount Laurel, NJ 08054-1210


                            GA Anesthesiologists PC
                            531 Roselane Street #830
                            Marietta, GA 30066


                            Georgia Department of Revenue
                            Compliance Division ARCS - Bankruptcy
                            1800 Century Blvd NE, Suite 9100
                            Atlanta, GA 30345-3202


                            Georgia Department of Revenue
                            Resolution Unit PO Box 105499
                            Atlanta, GA 30348


                            GFE NY LLC
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                            Knoxville, TN 37902


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                            Harry Dow
                            1730 W. Genesee Rd
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                            Internal Revenue Service
                            Stop 6525
                            Kansas City, MO 64999-0025


                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            IRUKA Capital Group LLC
                            162 Elmora Ave #211
                            Elizabeth, NJ 07202


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                            John Moore
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                            Belleville, IL 62226


                            John Rodrigues


                            John Steele
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                            Hayfield, MN 55940


                            Judd Swarzmann
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                            RBR Global
                            c/o Douglas L Brooks PC PO Box 8477
                            Atlanta, GA 31106


                            Regions Bank
                            Attn: Bankruptcy
                            2050 Parkway Office Cir
                            Hoover, AL 35244-1805


                            Regions Bank
                            720 N 39th St
                            Birmingham, AL 35222


                            Regions Bank
                            Collections Center PO Box 11407
                            Birmingham, AL 35282-8651


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                            Atlanta, GA 30326


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                            Schoenthaler Law Group 406 Ridley Ave
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                            Fort Lupton, CO 80621


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                            Staten Island, NY 10314


                            Rosa Varela
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                            El Paso, TX 79912


                            Russ Patterson
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                            Sflndcorp
                            375 Healdsburg Ave
                            Ste 280
                            Healdsburg, CA 95448-4151


                            Sflndcorp
                            1 Letterman Dr
                            San Francisco, CA 94129-1494


                            Small Business Admin
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                            Lake Worth, FL 33467


                            Stephen Jung
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                            Red Bud, IL 62278


                            Steve Garrison
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                            Augusta, GA 30901


                            Steve Goldberg


                            Steve Guenter
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                            New York, NY 10017


                            Sure Source Capital LLC
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                            Milford, CT 06461


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                            Synchrony Bank/Care Credit
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                            Orlando, FL 32896


                            TCF National Bank
                            2508 South Louise Ave
                            Sioux Falls, SD 57106


                            Toyota Motor Credit
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                            Cedar Rapids, IA 52409


                            Unique Cars
                            170 NW 16th Street, Ste A
                            Boca Raton, FL 33432


                            United Community Bank
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                            Canton, GA 30114
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